                     Case 2:13-cv-00193 Document 775-38 Filed on 11/19/14 in TXSD Page 1 of 2
From                           Peters Joe
To                             McCraw         Steven   MacBride      Cheryl Bodisch              Robert      Nolte                  Candace

Sent                           8162013        55450     PM
Subject                        FW 16 August EIC Report



FYI




Subject    16 August EIC Report



       We       have had six inquiries this week         including    a request      for       DPS     personnel                            to   provide an information                        briefing     on e
       0 Issuances       this week




                                                                                          16     Aug       Weekly EIC Report
                                   Issuance                  0

               1A                                                       081513            The request was made                                         at   the   Texarkana           office   and denied        bE
                                    Inquiry                  1

                                                                        has a valid Texas             DL
                                   Issuance                  0

               113                                                      081513            Ft     Worth       South                          EIC request            Unable to process because                     tt

                                    Inquiry                  1

                                                                        Identification           policy

                                   Issuance                  0
               2A
                                    Inquiry                  0

                                   Issuance                  0

                                                                        81413 Texas City                      Customer had a valid DL                                          in   his   possession


               2B                                                       81313         Nacogdoches                   One                      request         on    from customer DAVID                     DRAKE
                                    Inquiry                  2
                                                                        2010 Customer               stated        he   was homeless and did                                         not   want the Election

                                                                        ID Customer was                told       Election                       Certificate           would        not be   valid   for   ID   onl


                                                                        customer          left


                                   Issuance                  0

                                                                        081413            Supervisor Olivo                  met with Cameron County Elections AdminiE
               3                                                        Commissioner Sophie                   Benavidez                            and County Administrative Assistant                           N
                                    Inquiry                  1
                                                                        DL Office          Supervisor             Olivo                     discussed the              EIC eligibility       requirements         a

                                                                        associated         with the issuance                                of the      Texas      EIC

                                   Issuance                  0
               4
                                    Inquiry                  0

                                   Issuance                  0
               5
                                    Inquiry                  0

                                   Issuance                  0

                                                                        081213            Babcock             This     office                     received         a    call    from a Rose          Marie DeF

                                                                        states     that    they     will   be having a meeting on Thursday                                                 Sept      12 2013
               6A
                                    Inquiry                  1          Cody Branch              Library     off   Vance                         Jackson          Rd     in    San Antonio           The meet

                                                                        people       She would             like   to   know                       if   someone          could       come     out   and give a

                                                                        Election     Certificates

                                   Issuance                  0
               613

                                    Inquiry                  0

       Total    EICs Issued   This   Week                    0
                                                                                          2:13-cv-193
                                                                                                                       exhibitsticker.com




       Total    EIC Inquiries This    Week                   6                            09/02/2014
       Total    EICs Issued   to   Date                      7

                                                                                      DEF1475

                                                                                                                                                                                                       TEX0507713
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        Total   EIC Inquiries to Date                     80




vr




Tay         WIw•aez

Customer Operations Senior Manager              South   and West

Driver License    Division

Texas   Department of Public    Safety

tony rodriguezn7dpstexasgov
5124245657        0
5127399709        C
5124245233        F
The    Driver   License   Division   is   committed to quality and excellence   in   customer service   Please   share your thoughts

with   us via our online customer service survey at httpwwwsurveyutexasedutxdps




                                                                                                                                  TEX0507714
